Case 1:19-cv-01339 Document1-5 Filed 10/11/19 Page 1of1PagelID#: 20

 

WILLIAM Eart Hutton

Sheriff and Tax Collector ~ Rapides Parish

 

TO: Deputy Jerry McKinney /

FROM: Major Mark Wood

DATE: November 8, 2018

SUBJECT: Transfer

Effective , Monday, November 12, 2018, you will be transferred from

Enforcement/Court Security to DC 3. Please make contact with Major Doug
Hollingsworth for your new assignment and work schedule.

MW-nrb

cc: Sheriff Hilton
Payroll
Personnel

701 Murray Street | Suite 301 | Alexandria, Louisiana 71301
Phone 318.473.6700 | Fax: 318.449.5455 | www.rpso.org

 
